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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            CRIMINAL NO. 6:08CR25-003
                                                  §
 LESLI NICOLE TEEMS                               §


                            REPORT & RECOMMENDATION OF
                           UNITED STATES MAGISTRATE JUDGE

        On December 13, 2010, the Court conducted a hearing to consider the government’s petition

 to revoke the supervised release of Defendant Lesli Nicole Teems. The government was represented

 by Alan Jackson, Assistant United States Attorney for the Eastern District of Texas, and Defendant

 was represented by court-appointed counsel, Joe Thigpen.

        Defendant originally pled guilty to the offense of Conspiracy to Utter Counterfeited

 Obligations of the United States, a Class D felony. The offense carried a statutory maximum

 imprisonment term of 5 years. The United States Sentencing Guideline range, based on a total

 offense level of 8 and a criminal history category of I, was 0 to 6 months. On January 12, 2009,

 District Judge Michael Schneider sentenced Defendant to time served followed by a term of 2 years

 supervised release, subject to the standard conditions of release, plus special conditions to include

 restitution, financial disclosure, drug aftercare, credit restrictions, mental health treatment, and

 gambling restrictions. On January 12, 2009, Defendant completed the term of imprisonment and

 began the term of supervised release.

        Under the terms of supervised release, Defendant was prohibited, in relevant part, from (1)

 committing another federal, state or local crime; (2) illegally possessing a controlled substance; (3)


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 any unlawful use of a controlled substance; (4) leaving the Eastern District of Texas; and (4)

 possessing a firearm.

        In its petition, the government alleges that Defendant violated her term of supervised release

 by providing urine specimens on March 23 and March 26, 2010 that tested positive for

 methamphetamine.1 Fifth Circuit case law permits a court to find that illicit drug use constitutes

 possession. The government further alleges Defendant drove while intoxicated, possessed a

 controlled substance not prescribed to her by a physician, traveled outside the Eastern District of

 Texas, and possessed a semi-automatic assault rifle and Glock handgun.

        If the Court finds by a preponderance of the evidence that Defendant unlawfully possessed

 a controlled substance, a statutory sentence of no more than 2 years of imprisonment may be

 imposed. 18 U.S.C. § 3583(g)(1). Pursuant to Section 7B1.3(a)(1) of the Sentencing Guidelines,

 violating a condition of supervision by possessing methamphetamine, or controlled substances that

 were not prescribed to her by a physician, would constitute a Grade B violation, for which the Court

 shall revoke Defendant’s term of supervised release in favor of a term of imprisonment. U.S.S.G.

 § 7B3.1(a)(1). Considering Defendant’s criminal history category of I, the Guideline imprisonment

 range for a Grade B violation is 4 to 10 months. U.S.S.G. § 7B1.4(a).

        If the Court finds by a preponderance of the evidence that Defendant committed the offenses

 of Driving While Intoxicated, Public Intoxication or traveling outside the Eastern District of Texas

 without permission, Defendant will have committed a Grade C violation. U.S.S.G. § 7B1.1(a). The

 Court may then revoke supervised release or extend the term of supervised release and/or modify the

 conditions of supervision. U.S.S.G. § 7B1.3(a)(2). Considering Defendant’s criminal history


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            Such an offense would also be a violation of Texas Health and Safety Code § 481.115.

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 category of I, the Guideline imprisonment range for a Grade C violation is 3 to 9 months. U.S.S.G.

 7B1.4(a).

        At the hearing, Defendant pled true to violating the conditions of supervision, but the parties

 did not have a recommendation for the Court regarding sentencing. The government asked for 9-10

 months, while Defendant asked for 6 months.

        Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that Defendant

 Lesli Nicole Teems be committed to the custody of the Bureau of Prisons for a term of imprisonment

 of 6 months with no supervised release to follow. The Court further RECOMMENDS that the

 place of confinement be FCI Carlswell, Ft. Worth, Texas.

         Defendant has waived her right to object to the findings of the Magistrate Judge in this matter
                             .
 so the Court will present this Report and Recommendation to District Judge Michael Schneider for

 adoption immediately upon issuance.




                            So ORDERED and SIGNED this 14th day of December, 2010.




                                                            ___________________________________
                                                                       JOHN D. LOVE
                                                            UNITED STATES MAGISTRATE JUDGE




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